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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Objection Deadline: November 2, 2018 at 4:00 p.m. (ET)
                                                                          Status Hearing: November 9, 2018 at 1:00 p.m. (ET)

                    NOTICE OF CURE AMOUNTS RELATING TO UNEXPIRED LEASES
                     THAT THE DEBTORS MAY ASSUME PURSUANT TO THE PLAN

              YOU ARE RECEIVING THIS NOTICE (THE “CURE NOTICE”) BECAUSE
         YOU ARE A COUNTERPARTY TO ONE OR MORE UNEXPIRED LEASES OF NON-
         RESIDENTIAL REAL PROPERTY WITH ONE OR MORE OF THE DEBTORS. THE
         DEBTORS MAY SEEK TO ASSUME SUCH LEASE(S) PURSUANT TO THE PLAN.

                 PLEASE TAKE NOTICE that, on October 5, 2018 (the “Petition Date”), Mattress
         Firm, Inc. and its affiliated debtors and debtors in possession (collectively, the “Debtors”) each
         filed a voluntary petition for relief under chapter 11 of the United States Bankruptcy Code, 11
         U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
         District of Delaware. Capitalized terms used but not otherwise defined herein shall have the
         meanings ascribed to such terms in the Joint Prepackaged Chapter 11 Plan of Reorganization
         for Mattress Firm, Inc. and Its Debtor Affiliates [Docket No. 22] (as the same may be amended,
         supplemented or otherwise modified from time to time, the “Plan”).2

                 PLEASE TAKE FURTHER NOTICE that, pursuant to the Plan,3 the Debtors may
         assume any Unexpired Lease(s) (each, a “Lease”) to which you are a counterparty unless such
         Lease: (i) has previously been rejected by a Final Order of the Bankruptcy Court; (ii) has been
         rejected by an order of the Bankruptcy Court entered on or before the Effective Date, which
         order becomes a Final Order after the Effective Date; (iii) is the subject of a Rejection Motion or
         Lease Rejection Notice pending as of the Effective Date and is subsequently rejected by a Final

         1
           The last four digits of Mattress Firm Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
         2
           A copy of the Plan may be obtained on the website of the Debtors’ claims and noticing agent at
         http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
         3
          Any descriptions of the Plan in this Cure Notice are intended only to provide a summary of certain key terms of the
         Plan and are qualified in their entirety by reference to the entire Plan.
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         Order of the Bankruptcy Court; or (iv) is identified on the Schedule of Post-Effective Date
         Negotiated Leases as a Lease as to which the counterparty has consented in writing to the
         Debtors’ deferral of their decision to assume or reject for a period of up to ninety (90) days
         immediately following the Effective Date; 4 provided, however, that the Debtors or the
         Reorganized Debtors, as applicable, may assume any Lease identified on the Schedule of Post-
         Effective Date Negotiated Leases at any time before termination of the Post-Effective Date
         Lease Negotiation Period.

                  PLEASE TAKE FURTHER NOTICE that, pursuant to the Plan, the Debtors may
         assume the Lease(s) to which you are a party provided that the Debtors cure any defaults under
         the Lease(s) existing as of the time of assumption. The amount(s) that the Debtors believe must
         be paid to cure all defaults existing as of the Petition Date under the Lease(s) to which you are a
         counterparty in accordance with section 365(b) of the Bankruptcy Code (each, a “Cure Amount”)
         is/are listed on Exhibit A to this Cure Notice.

                PLEASE TAKE FURTHER NOTICE that, in the event you owe any amount to one or
         more of the Debtors pursuant to a Lease, the Debtors explicitly reserve their rights to collect such
         amount in the ordinary course, notwithstanding that the Cure Amount listed on Exhibit A may
         be zero, and nothing in this Cure Notice constitutes a waiver of the Debtors’ rights with respect
         to any Lease.

                 PLEASE TAKE FURTHER NOTICE that, if you disagree with the proposed Cure
         Amount or object to the assumption of the Lease(s) pursuant to the Plan, you must file with the
         Court and serve a written objection (each an “Objection”) so as to be actually received by the
         following parties no later than 4:00 p.m. prevailing Eastern Time on November 2, 2018
         (such deadline, the “Objection Deadline”): (i) the Debtors, Mattress Firm, Inc., 10201 S. Main
         Street, Houston, Texas 77025, Attn: Kindel Elam; (ii) proposed counsel to the Debtors, Sidley
         Austin LLP, One South Dearborn, Chicago, Illinois 60603, Attn: Bojan Guzina and Matthew E.
         Linder; (iii) proposed co-counsel to the Debtors, Young Conaway Stargatt & Taylor, LLP, 1000
         North King Street, Wilmington, Delaware 19801, Attn: Edmon L. Morton and Ashley E. Jacobs;
         (iv) the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801,
         Attn: Linda Richenderfer; (v) counsel to the DIP Agents and Prepetition ABL Agent, Paul
         Hastings LLP, MetLife Building, 200 Park Avenue, New York, New York 10166, Attn: Andrew
         V. Tenzer and Michael E. Comerford, and Richards, Layton & Finger, P.A., One Rodney
         Square, 920 North King Street, Wilmington, Delaware 19801, Attn: Mark D. Collins and Jason
         M. Madron, and Morgan, Lewis & Bockius LLP, One Federal Street, Boston, Massachusetts
         02110-1726, Attn: Marc R. Leduc; (vi) counsel to the Prepetition Term Loan Lender, Linklaters
         LLP, 601 13th Street NW #400, Washington, D.C. 20005, Attn: Amy Edgy, and 1345 6th
         Avenue, New York, New York 10105, Attn: Christopher Hunker; and (vii) co-counsel to the exit
         term loan financing backstop group, Latham & Watkins LLP, 885 Third Avenue, New York,

         4
          The Plan includes a mechanism that permits the Debtors to continue negotiations with consenting landlords for a
         period of 90 days following the Effective Date of the Plan (such 90-day period, the “Post-Effective Date Lease
         Negotiation Period”). Specifically, prior to the confirmation hearing, the Debtors will file a schedule of all
         Remaining Leases as to which the applicable counterparty has consented in writing to the Debtors’ deferral of their
         decision on assumption or rejection during the Post-Effective Date Lease Negotiation Period (such schedule, the
         “Schedule of Post-Effective Date Negotiated Leases”).

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         New York 10022, Attn: Adam Goldberg, and Ashby & Geddes, P.A., 500 Delaware Avenue, 8th
         Floor, Wilmington, Delaware 19801, Attn: William Bowden. Each Objection should state with
         specificity the legal and factual grounds for the objection to the Cure Amount or the proposed
         assumption of the applicable Lease(s).

                 PLEASE TAKE FURTHER NOTICE that the proposed Cure Amount does not include
         any amounts that may be owed on account of common area maintenance, insurance, taxes, and
         similar charges or credits (or amounts owed by or credits owed to the Debtors after year-end
         adjustments and reconciliations of such charges) that have yet to be reconciled and billed as of
         the date of this filing, which amounts will be paid in the ordinary course of business under the
         terms of the relevant Lease (provided that such Lease is actually assumed by the Debtors).

                PLEASE TAKE FURTHER NOTICE that notwithstanding the Cure Amount(s) listed
         on Exhibit A, the Debtors have reached separate lease amendment agreements with certain
         counterparties (which may include you) and, in those instances, the separate lease amendment
         agreements shall control over the Cure Amount.

              PLEASE TAKE FURTHER NOTICE THAT ONCE THE CURE AMOUNT IS
         PAID AND A LEASE IS ASSUMED BY THE DEBTORS PURSUANT TO THE PLAN,
         SUCH ASSUMPTION SHALL RESULT IN THE FULL RELEASE AND
         SATISFACTION OF ANY CLAIMS OR DEFAULTS, WHETHER MONETARY OR
         NONMONETARY, INCLUDING DEFAULTS OF PROVISIONS RESTRICTING THE
         CHANGE IN CONTROL OR OWNERSHIP INTEREST COMPOSITION OR OTHER
         BANKRUPTCY-RELATED DEFAULTS, INCLUDING ANY IPSO FACTO CLAUSE,
         ARISING UNDER ANY ASSUMED LEASE AT ANY TIME BEFORE THE DATE ON
         WHICH THE DEBTORS OR REORGANIZED DEBTORS ASSUME SUCH LEASE.

                 PLEASE TAKE FURTHER NOTICE that notwithstanding anything set forth herein,
         this Cure Notice shall not be deemed to constitute an assumption, rejection or termination of any
         of the Leases. The Debtors explicitly reserve their rights to reject or assume each Lease pursuant
         to section 365(a) of the Bankruptcy Code and nothing herein (i) alters in any way the prepetition
         nature of the Leases or the validity, priority, or amount of any claims of a counterparty to a Lease
         against the Debtors that may arise under such Lease, (ii) creates a post-petition contract or
         agreement or (iii) elevates to administrative expense priority any claims of a counterparty to a
         Lease against the Debtors that may arise under such Lease.



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         Dated: October 19, 2018     SIDLEY AUSTIN LLP
         Wilmington, Delaware        Bojan Guzina
                                     Matthew E. Linder
                                     Michael Fishel
                                     Blair M. Warner
                                     One South Dearborn Street
                                     Chicago, Illinois 60603
                                     Telephone: (312) 853-7000
                                     Facsimile: (312) 853-7036

                                             -and-
                                     YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                     /s/ Ashley E. Jacobs
                                     Robert S. Brady (No. 2847)
                                     Edmon L. Morton (No. 3856)
                                     Ashley E. Jacobs (No. 5635)
                                     1000 North King Street
                                     Wilmington, Delaware 19801
                                     Telephone: (302) 571-6600
                                     Facsimile: (302) 571-1253

                                     PROPOSED ATTORNEYS FOR THE DEBTORS
                                     AND DEBTORS IN POSSESSION




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